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                    6    Specially Appearing For
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                    7

                    8                                     UNITED STATES DISTRICT COURT
                    9                               NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                         Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                             KING & SPALDING LLP’S
                                                                           ADMINISTRATIVE MOTION TO FILE
                  13                        Plaintiffs,                    UNDER SEAL

                  14     v.                                                Judge:        Hon. Phyllis J. Hamilton

                  15     NSO GROUP TECHNOLOGIES
                         LIMITED and Q CYBER
                  16     TECHNOLOGIES LIMITED,

                  17                        Defendants.

                  18

                  19             Pursuant to Civil Local Rules 7-11 and 79-5(d) and (e), King & Spalding (K&S) submits

                  20     this motion to file under seal limited portions of its Opposition to Plaintiff’s Motion to Disqualify

                  21     Defense Counsel (“Opposition Motion”) and supporting documents. There are two independent

                  22     bases for the redactions and sealing K&S seeks. First, the material K&S seeks to file under seal

                  23     emanates from a matter sealed by another district court and is subject to a sealing order that

                  24     prohibits WhatsApp, its agents and King & Spalding from disclosing any information related to

                  25     that litigation to anyone other than the parties or their counsel. Declaration of Jessica MacGregor

                  26     (“MacGregor Decl.”) ¶ 2. Second, in addition to being subject to a sealing order, as to third

                  27     parties, the materials are also attorney-client privileged and work product protected. In sum, the

                  28     material K&S seek to file under seal mirrors the material this Court recently allowed Plaintiff to
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                    1    file under seal. Order Granting Motions to Seal, Case No. 4:19-cv-07123-PJH (N.D. Cal. May 6,

                    2    2020) ECF No. 67.

                    3           On behalf of Defendants, K&S respectfully request the Court grant their Administrative

                    4    Motion to Seal designated portions of (1) the Opposition Motion; (2) Declaration of M. Robert

                    5    Thornton in support of Opposition Motion; (3) Thornton Declaration, Exhibits 1-25; (4)

                    6    Declaration of Sumon Dantiki in support of Opposition Motion; (5) Declaration of Derick J.

                    7    Arthur in support of Opposition Motion; (6) Declaration of R. Barronton Lloyd in support of

                    8    Opposition Motion; (7) Declaration of Peter G. Nolan; (8) Declaration of Paul Alessio Mezzina in

                    9    support of Opposition Motion; (9) Mezzina Declaration, Exhibit 2; (10) Declaration of Rod J.

                  10     Rosenstein in support of Opposition Motion; (11) Declaration of Joseph N. Akrotirianakis in

                  11     support of Opposition Motion; (12) Declaration of Aaron Craig in support of Opposition Motion;

                  12     and (13) Declaration of Matthew Noller in support of Opposition Motion.

                  13            I.      BACKGROUND

                  14            K&S on its behalf and on behalf of its clients in this matter, challenge Plaintiff’s position

                  15     that K&S’s December 2015 – July 2016 representation of WhatsApp in unrelated litigation (“the

                  16     Sealed Matter”) warrants the drastic remedy of disqualifying counsel. To oppose this motion,

                  17     K&S relies on selected exhibits that are both subject to the sealing order in the Sealed Matter and,

                  18     as to third parties, but not as to K&S, protected by attorney-client privilege and work product.

                  19     MacGregor Decl. ¶ 3-4. Therefore, K&S moves to file under seal the Opposition Motion and

                  20     supporting documents pursuant to Civil Local Rule 79-5.
                  21            II.     LEGAL STANDARD

                  22            Civil Local Rule 79-5 sets forth the procedural requirements for filing an administrative

                  23     motion to seal records. The moving party must establish that the request is “narrowly tailored to

                  24     seek sealing only of sealable material” and attach declarations to that effect. Civil L.R. 79-5(b),

                  25     Civil L.R. 79-5(d)(1)(A). “Sealable” material includes documents, or portions thereof, that are

                  26     “privileged, protectable as a trade secret or otherwise entitled to protection under the law.” Civil
                  27     L.R. 79-5(b). If the sole basis for nondisclosure is that the documents are subject to a protective

                  28     order, the moving party must also include a declaration from the party who designated the
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                    1    documents as confidential. Civil L.R. 79-5(e).

                    2           The moving party’s burden of persuasion is dependent on how closely related the

                    3    underlying motion is to the merits of the case. See Kamakana v. City & Cty. of Honolulu, 447

                    4    F.3d 1172, 1182 (9th Cir. 2006) (“[T]he proponent of sealing bears the burden with respect to

                    5    sealing. A failure to meet that burden means that the default posture of public access prevails.”) A

                    6    party seeking to seal materials submitted with a motion that is “more than tangentially related to

                    7    the merits of the case” must demonstrate that there are compelling reasons to keep the documents

                    8    under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02 (9th Cir. 2016).

                    9    “[I]f the motion is only tangentially related to the merits, [a] particularized showing of “good

                  10     cause” …as required by Federal Rule of Civil Procedure 26(c)” is sufficient. Kamakana, 447

                  11     F.3d at 1176.

                  12            K&S also seeks to seal documents pursuant to attorney-client privilege. Questions of

                  13     privilege that arise in the course of the adjudication of federal rights are governed by state law.

                  14     Fed.Rule Evid. 501. California clearly acknowledges an attorney-client privilege in Cal. Evid.

                  15     Code § 954; see also Mitchell v. Superior Court, 37 Cal. 3d 591, 599 (1984)( “[F]undamental

                  16     purpose behind the privilege is to safeguard the confidential relationship between clients and their

                  17     attorneys so as to promote full and open discussion of the facts and tactics surrounding individual

                  18     legal matters.”) In defending against the disqualification motion, K&S can introduce documents

                  19     that would otherwise be protected by attorney-privilege without breaching privilege. Cal. Evid.

                  20     Code § 958 (“There is no privilege under this article as to a communication relevant to an issue of
                  21     breach, by the lawyer or by the client, of a duty arising out of the lawyer-client relationship.”)

                  22     K&S may only utilize such privileged information “to the extent necessary to litigate the action.”

                  23     Acacia Patent Acquisition, LLC v. Superior Court, 234 Cal. App. 4th 1091, 1098 (2015) .

                  24     However, these materials remain privileged as to third parties.

                  25            III.     ARGUMENT

                  26            Defendants seeks to file under seal portions of its Opposition Motion and supporting
                  27     documents containing information protected by the sealing order in the Sealed Matter, as well as

                  28     attorney-client privilege. MacGregor Decl. ¶ 3-4. Through emails and phone calls spanning from
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                    1    May 13, 2020 through May 29, 2020, special counsel for K&S has met and conferred with the

                    2    Department of Justice (“DOJ”) to ensure all redactions are consistent with the sealing order.

                    3    MacGregor Decl. ¶ 5. DOJ attorneys indicated that while they had no interest in the outcome of

                    4    the disqualification motion, they wanted to ensure the protective order in the Sealed Matter was

                    5    strictly adhered to. Id. at ¶ 6. On May 28, 2020, counsel for the DOJ provided its final revisions

                    6    and indicated they approved of all proposed redactions. Id. at ¶ 7.

                    7            A. The Court Has Already Acknowledged K&S is Prohibited From Disclosing
                                    Sealed Matter
                    8
                                 The record in this case establishes a basis for granting K&S’s motion on the grounds that
                    9
                         the redacted materials were filed in or refer to the Sealed Matter. On April 29, 2020, Plaintiffs
                  10
                         filed an administrative motion to seal for the same reasons as K&S—that the material forming the
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                         basis for their motion to disqualify was the subject of a sealing order in another district court.
                  12
                         ECF No. 59, pg. 2. The Court granted Plaintiffs’ motion, acknowledging that the district court
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                         had not yet unsealed the Sealed Matter. ECF No. 67, pg. 3 (“As stated, the district court in the
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                         underlying matter has deemed the matter sealable and, upon review, the material in this matter
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                         appears sufficiently related to the underlying matter. Therefore, the court finds that there is good
                  16
                         cause to file the material referenced by plaintiff and the DOJ under seal.”) The same holds true
                  17
                         here.
                  18
                                 On April 10, 2020, Plaintiffs sought an ex parte protective order that would “explicitly
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                         prevent the parties and their counsel from disclosing any information from the sealed litigation to
                  20
                         any other persons or entities, including Defendants in this litigation. ECF 47-12, pg. 3. Plaintiffs
                  21
                         represented that the sealing order in the Sealed Matter “prohibits WhatsApp and its agents, as
                  22
                         well as King & Spalding, from disclosing any information related to that litigation to anyone
                  23
                         other than the parties or their counsel.” Id. at 2. The Court denied Plaintiff’s request for a limited
                  24
                         protective order, stating “King & Spalding is already prohibited from disclosing any information
                  25
                         related to the other federal litigation, which is the same information sealed in this matter.” ECF
                  26
                         No. 68, pg. 2. K&S is subject to keeping the information from the Sealed Matter confidential
                  27
                         pursuant to the sealing order. K&S’s request to file redacted material under seal related to the
                  28
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                    1    Sealed Matter is on all fours with WhatsApp’s granted administrative motion and should likewise

                    2    be granted. ECF 67.

                    3             B. K&S Seeks to File Attorney-Client Privileged Documents Under Seal

                    4             K&S also seeks to seal documents in the Sealed Matter that, as to third parties, remain

                    5    protected by attorney-client privilege. Under Cal. Evidence Code §958 and CCP §2018.080, there

                    6    is no privilege or work product protection as between K&S and WhatsApp with regard to the

                    7    information and exhibits submitted; however, the documents and information remain privileged

                    8    as to third parties. Acacia Patent Acquisition, LLC v. Superior Court, 234 Cal. App. 4th 1091,

                    9    1098 (2015) . To ensure no third parties obtain access to these documents and to maintain their

                  10     privileged status, K&S seeks sealing.

                  11              IV.      CONCLUSION

                  12              Redacted and unredacted versions of the documents sought to be filed under seal are

                  13     attached pursuant to Civil Local Rule 79-5(d) and (e). For the reasons set forth above,

                  14     Defendants respectfully request that the Court grant this motion and seal the designated material.

                  15

                  16     Dated: May 29, 2020.                               LONG & LEVIT LLP
                  17

                  18                                                        By:      /s/ Jessica R. MacGregor
                                                                                  JESSICA R. MACGREGOR
                  19                                                              Specially Appearing For
                                                                                  KING & SPALDING LLP
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                  21     4852-3722-9502, v. 1

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